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                  EXHIBIT J
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             Expert Report of Dr. Stephen Ansolabehere

            Fish v. Kobach, No 2: 16-cv-02105 (D. Kansas)



                           March 15, 2017
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I. Statement of Inquiry


   1. I have been asked to examine the report of Professor Jesse Richman in the

      case of Steven Wayne Fish v. Kris Kobach, U. S. District Court for the District of

      Kansas, Case No. 16-2105, to assess the validity of inferences drawn and the

      facts presented concerning the rate of non-citizen registration and voting in

      the State of Kansas and the United States.


II. Background and Qualifications



   2. I am the Frank G. Thompson Professor of Government in the Department of

      Government at Harvard University in Cambridge, MA. Formerly, I was an

      Assistant Professor at the University of California, Los Angeles, and I was

      Professor of Political Science at the Massachusetts Institute of Technology,

      where I held the Elting R. Morison Chair and served as Associate Head of the

      Department of Political Science. I am the Principal Investigator of the

      Cooperative Congressional Election Study (CCES), a survey research

      consortium of over 250 faculty and student researchers at more than 50

      universities, directed the Caltech/MIT Voting Technology Project from its

      inception in 2000 through 2004, and served on the Board of Overseers of the

      American National Election Study from 1999 to 2013. I am a consultant to

      CBS News’ Election Night Decision Desk. I am a member of the American

      Academy of Arts and Sciences (inducted in 2007). My curriculum vitae is

      attached to this report.



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3. My areas of expertise include American government, with particular

   expertise in electoral politics, representation, and public opinion, as well as

   statistical methods in social sciences and survey research methods. I have

   authored numerous scholarly works on voting behavior and elections, the

   application of statistical methods in social sciences, legislative politics and

   representation, and distributive politics. This scholarship includes over 60

   articles in peer-reviewed academic journals including the Journal of the

   Royal Statistical Society, American Political Science Review, American

   Economic Review, the American Journal of Political Science, Legislative

   Studies Quarterly, Quarterly Journal of Political Science, Electoral Studies,

   and Political Analysis. I have published articles on issues of election law in

   the Harvard Law Review, Texas Law Review, Columbia Law Review, New

   York University Annual Survey of Law, and Election Law Journal. I have

   served as member of the editorial board of the American Journal of Political

   Science, Public Opinion Quarterly, Legislative Studies Quarterly, the Election

   Law Journal, and Business and Politics. I have served as Associate Editor of

   Public Opinion Quarterly. I have coauthored three scholarly books on

   electoral politics in the United States, The End of Inequality: Baker v. Carr

   and the Transformation of American Politics, Going Negative: How Political

   Advertising Shrinks and Polarizes the Electorate, and The Media Game:

   American Politics in the Media Age. I am coauthor with Ben Ginsberg, Ken




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   Shepsle, and Suzanne Mettler of American Government: Power and Purpose.

   My curriculum vita with publications list is attached to this report.



4. I am or have served as a testifying expert in 10 cases. I am a testifying expert

   for the Rodriguez plaintiffs in Perez v. Perry, currently before the U. S. District

   Court in the Western District of Texas (No. 5:11-cv-00360) and for the San

   Antonio Water District intervenor in LULAC v. Edwards Aquifer Authority in

   the U.S. District Court for the Western District of Texas, San Antonio Division

   (No. 5:12cv620-OLG,). I have served as a testifying expert for the Gonzales

   intervenors in State of Texas v. United States before the U.S. District Court in

   the District of Columbia (No. 1:11-cv-01303); for the Department of Justice in

   State of Texas v. Holder, before the U.S. District Court in the District of

   Columbia (No. 1:12-cv-00128); for the Guy plaintiffs in Guy v. Miller in U.S.

   District Court for Nevada (No. 11-OC-00042-1B); for the Florida Democratic

   Party in In re Senate Joint Resolution of Legislative Apportionment in the

   Florida Supreme Court (Nos. 2012-CA-412, 2012-CA-490); for the Romo

   plaintiffs in Romo v. Detzner in the Circuit Court of the Second Judicial Circuit

   in Florida (No. 2012 CA 412); for the Department of Justice in Veasey v. Perry,

   before the U.S. District Court for the Southern District of Texas, Corpus

   Christi Division (No. 2:13cv00193); for the Harris plaintiffs in Harris v.

   McCrory in the U. S. District Court for the Middle District of North Carolina

   (No. 1:2013cv00949); and for the Bethune-Hill plaintiffs in Bethune-Hill v.




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   Virginia State Board of Elections in the U.S. District Court for the Eastern

   District of Virginia (No. 3: 2014cv00852).



5. I have worked as a consultant to the Brennan Center in the case of McConnell

   v. FEC, 540 U.S. 93 (2003). I have testified before the U.S. Senate Committee

   on Rules, the U.S. Senate Committee on Commerce, the U.S. House Committee

   on Science, Space, and Technology, the U.S. House Committee on House

   Administration, and the Congressional Black Caucus on matters of election

   administration in the United States. I filed an amicus brief with Professors

   Nathaniel Persily and Charles Stewart on behalf of neither party to the U.S.

   Supreme Court in the case of Northwest Austin Municipal Utility District

   Number One v. Holder, 557 U.S. 193 (2009) and an amicus brief with

   Professor Nathaniel Persily and others in the case of Evenwel v. Abbott 136 S.

   Ct. 1120 (2016).



6. I have been hired by the Plaintiffs in this case. I am retained for a rate of $500

   per hour, which is my standard consulting rate.




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III. Data Sources



   7. In preparing this report I have consulted data on the population and citizen

      population in Kansas and the United States provided by the US Census

      Bureau. Specifically, I rely on the US Census Enumeration of 1990 for

      estimates of the adult and adult non-citizen populations in the State of

      Kansas in that year and the American Community Survey (ACS) 2015 for

      estimates of the adult and adult non-citizen populations in the State of

      Kansas currently. According to the ACS 2015 survey, there are 2,189,554

      adults (18 years or older) in the State of Kansas, 2,072,133 adult citizens in

      the State of Kansas, and 117,421 adult non-citizens in the State of Kansas.

      Data available through the American Factfinder website of the US Census

      Bureau:

      https://factfinder.census.gov/faces/nav/jsf/pages/searchresults.xhtml?refr

      esh=t. I rely on the 2008 Current Population Survey, conducted by the

      Census Bureau, to measure the demographic characteristics of the non-

      citizen population of the US in 2008 and currently. Data available at

      https://www.census.gov/topics/population/foreign-born/data.html.



   8. In preparing this report I have also consulted data files of the Cooperative

      Congressional Election Study for 2006, 2008, 2010, 2012, and 2014. Data

      available at http://projects.iq.harvard.edu/cces/data.




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III. Summary

   9. Professor Richman’s Estimates of Non-Citizen Registration in the State of

      Kansas. Professor Richman provides five estimates of the rate of non-citizen

      registration in the State of Kansas, but no “best” estimate. Taking those five

      together, the estimated rate of non-citizen registration is 1.3 percent, but the

      margin of error of this estimate is very wide, plus or minus 7.6 percent. (See

      Table 2.) This is not a statistically significant rate of non-citizen registration.

      That is, there is sufficient uncertainty associated with the estimated rates of

      non-citizen registration in Professor Richman’s report that there can be no

      confidence that the number of non-citizen registrations is more than the

      nominal cases in the sample. It is not possible to reject the hypothesis that

      the rate of non-citizen registration in the State of Kansas is different from

      zero.



   10. Professor Richman’s estimates of Non-Citizen Registration in the United

      States. Professor Richman also offers two estimates of the rate of non-citizen

      registration in the United States as a whole. (See Table 1.) They are distinct

      from and inconsistent with each other. They are based on a flawed data

      analysis.



   11. Professor Richman’s Estimates of Non-Citizen Voting in the United States. He

      offers two estimates of the rate of non-citizen voting in the United States as a

      whole. (See Table 3.) These two estimates are distinct from and



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   inconsistent with each other. They are based on a flawed data analysis.

   Professor Richman offers no estimate of the rate of non-citizen voting in the

   State of Kansas.



12. Professor Richman’s Estimates of Citizens who Lack Citizenship Documents.

   Professor Richman offers one estimate of the percent of citizens who lack

   proof of citizenship in the State of Kansas. He estimates that 2.2 percent of

   all adult citizens in the State of Kansas lack documents to prove that they are

   citizens (Richman page 9; and Table 4 below). That estimate implies that

   45,587 adult citizens in the State of Kansas lack the requisite documentations

   to prove that they are citizens. This number far exceeds Professor Richman’s

   estimates of the numbers of non-citizens who are registered or have tried to

   register, which, as listed in his conclusion, range from 1,100 to 18,000

   persons.



13. Professor Richman’s Estimates of the Number of Individuals on the Suspense

   List Who Are Non-Citizens. Professor Richman offers one estimate of the

   number of individuals on the Suspense List who are non-citizens: 0.7

   percent. This estimate is not statistically distinct from zero. This estimate

   implies that the vast majority of people on the suspense list are citizens.




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IV. Findings



A. Estimates of Registration Rates of Non-Citizens



   14. Professor Richman’s report provides seven different estimates of the percent

      of non-citizens who are registered to vote. Two of these estimates use

      national survey data and pertain to the entire United States. These are

      presented in Table 1 below. Five of these estimates use various datasets that

      encompass residents in the State of Kansas. These are presented and

      summarized in Table 2 below.



   15. The estimates are made using different methodologies. Professor Richman’s

      report offers no indication as to which methodology is superior or which is

      the “best” estimate.



   16. None of the estimates in Professor Richman’s report provide evidence of

      statistically significant rates of non-citizen registration in Professor

      Richman’s report. No standard errors or margins of error are presented for

      six of the seven estimates of the rate of non-citizen registration. The margin

      of error is presented for one estimate (Richman, page 12). The margin of

      error for that estimate is sufficiently large that the estimate is not statistically

      significant; that is, the estimate is so noisy that it cannot be distinguished

      from true rate of zero (Richman page 12).



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     17. Statistical standards are not consistently applied in Professor Richman’s

        report and his other academic work provided as attachments to his report.

        Specifically, three of the estimates for non-citizen registration in Professor

        Richman’s report are based on very small sample sizes.

                     a. On page 5, the reported sample size of the estimate of 28.6

                        percent is 14.

                     b. On page 10, the reported sample size of the estimate of 16.5

                        percent is 34.

                     c. On page 12, the reported sample size of the estimate of 5.3

                       percent is 19.



     18. These analyses have low statistical power. Statistical power is the a priori

        ability of a study to distinguish among different possible true values of the

        underlying rate of non-citizen registration, including a registration rate of

        zero. Power increases as a direct function of sample size. A researcher

        chooses a larger sample size, before conducting the study, in order to gain

        higher precision in the estimates and, thus, higher power. In an unpublished

        paper that was attached to his report, Professor Richman dismisses an

        analysis of 85 non-citizen respondents as “badly under-powered.” 1 The

        “badly under-powered” sample size of 85 is two to six times larger than the

1See Jesse Richman, David C. Earnest, and Gulshan Chattha, “A Valid Analysis of a
Small Subsample: The Case of Non-Citizen Registration and Voting,” Working Paper:
1/28/2017, pages 3-4. This paper was provided to me as an attachment to his
report in this case.


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    sample size of the estimates noted above on Pages 5, 10, and 12 of Professor

    Richman’s report.



 A.1. U.S. Estimates



        i.   Statistics



 19. Professor Richman provides two estimates of the rate of non-citizen

    registration in the United States based on the Cooperative Congressional

    Election Study (CCES) of 2008: 3.3 percent and 19.8 percent.



 20. As noted, I am the Principal Investigator of the CCES, the survey on which

    Professor Richman relies for various estimates in his report. I designed and

    manage that survey.



 21. Professor Richman offers no statistical assessment of the figures he presents

    on page 3 of his report. He offers no sample size information, no margins of

    error, no measures of uncertainty, and no statistical tests.



 22. I extracted the relevant sample size for the group of non-citizens in the 2008

    CCES Common Content Survey from the datafile for that study in order to

    construct the relevant confidence intervals. The theoretical margin of error,

    using the conventional calculation, for each of the CCES 2008 estimates of the



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        rate of non-citizen registration is plus or minus 4.5 percentage points, as

        shown in Table 1. 2



     23. Professor Richman’s first estimate he offers is not statistically significantly

        different from zero, but his second estimate is statistically different from

        zero, and the two estimates are statistically different from each other.



        ii.   Problems



     24. A first problem with Professor Richman’s two estimates of non-citizen

        registration in the U.S. is that he uses very different indicators of who is

        registered.

        a. The first estimate consists of those who have a voter registration record:

              that is, all respondents to the CCES who indicated that they are non-

              citizens and for whom a matching registration record could be found.

        b. The second estimate includes those individuals and also people who say

              they are registered to vote but for whom no linking record of their

              purported registration can be found in official state registration records.

        c. Including people who reported being registered in the indicator of who is

              actually registered increases Professor Richman’s estimate of the rate of

2 The conventional margin of error, as commonly reported, say, with public opinion
polls in the media, uses the formula 1.96 times the square root of .25 divided by the
sample size. The figure .25 is the variance of a dichotomous variable with p = .5. It
is commonly assumed that p = .5, a priori, in making this calculation. If the true
rate p is very low, an alternative confidence interval calculation is possible using a
Poisson distribution. Throughout I use the conventional formula, using p = .5.


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            non-citizen registration six-fold. Professor Richman offers no

            justification for using reported registration or argument as to which

            estimate is superior.



     25. A lengthy academic literature on registration and voting has noted that

        people substantially over-report registration and turnout, and that

        considerable caution should be drawn from survey data that purport to

        measure registration based on self-reports of survey respondents as to their

        registration status. 3 Specifically, the registration rates reported in surveys

        are much higher than actual registration rates, and, after matching survey

        data to registration lists, it is clear that many people who say they are

        registered in fact are not. Research attributes this to many different causes,

        such as social desirability of civic participation, faulty memories, and

        monitoring. Based on this research, there is reason to doubt the validity of

        indicators of actual registration that are based on reported registration.




3On the rates of over reporting of registration and turnout in the American National
Election Study see Michael Traugott and John P. Katosh, “Response Validity in
Surveys of Voting Behavior,” Public Opinion Quarterly 43 (1979): 359-377. See also
Brian D. Silver, Barbara A. Anderson and Paul R. Abramson, “Who Overreports
Voting?” American Political Science Review 80 (1986): 613-624, and see Robert F.
Belli, Michael W. Traugott, Margaret Young, and Katherine McGonagle, “Reducing
Vote Overreporting in Surveys: Social Desirability, Memory Failure, and Source
Monitoring,” Public Opinion Quarterly 63 (1999): 90-108. On the rates of over
reporting of registration and turnout in the Cooperative Congressional Election
Study see Stephen Ansolabehere and Eitan Hersh, “Validation: What Big Data
Reveal About Survey Misreporting,” Political Analysis 20 (2012): 437-459.


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 26. Professor Richman asserts, without any statistical foundation, that non-

    citizens do not over report registration, and he argues that is because they

    are not subject to social desirability biases. Professor Richman offers no

    evidence concerning social desirability pressures on non-citizens, or other

    causes of mis-reporting registration and turnout. Professor Richman’s

    report, however, provides evidence of over-reporting of registration among

    non-citizens. Specifically, Professor Richman’s report presents two very

    different national estimates of non-citizen registration using the CCES:

    (1) reported non-citizens who had valid registrations and (2) reported non-

    citizens who reported being registered or had a valid registration. The first

    estimate, based only on actual registration records, is 3.3 percent. The

    second estimate, based on self-report of registration, is 19.8 percent. That

    difference is consistent with over-reporting of registration among non-

    citizens.



 27. A second problem with Professor Richman’s analysis of the CCES is the

    treatment of the subsample of non-citizens in the 2008 survey. He analyzes

    this subgroup as if it were representative of all non-citizen adults in the

    United States. Professor Richman offers no assessment of

    representativeness of the subsample of non-citizens from which he is

    drawing inferences about the entire population of non-citizens in the US, nor

    of the validity of making projections from this subgroup to the population of

    non-citizens.



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 28. The CCES was not designed to reflect the non-citizen population of the United

    States, and it is not representative of this subgroup. The CCES is designed to

    be nationally representative of the population, and particular care is taken to

    be representative of the eligible electorate. The study does not, for example,

    include people in federal prisons.



 29. Non-citizens are under-represented in the sample. According to the

    American Community Survey, 8.6 percent of adults in the US in 2008 were

    non-citizens. In the 2008 CCES, only 1.2 percent of the respondents were

    non-citizens. Weighting the sample to reflect the age, education, gender,

    racial, and geographic distribution of the population only increased the non-

    citizen percent to 2.6 percent.



 30. The non-citizens in the CCES 2008 are not representative of non-citizens in

    the population as a whole. Notably, ten percent of the reported non-citizens

    in the CCES 2008 sample did not have a high school degree or equivalent.

    According to the Current Population Survey, 41 percent of non-citizen adults

    in the US in 2008 did not have a high school degree or equivalent. Given the

    magnitude of the differences between the characteristics of the CCES non-

    citizen subgroup and the characteristics of the non-citizen population in the

    U.S., significant statistical adjustments are required in order to draw valid

    inferences. Professor Richman does not correct in his analysis for



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        differences between the demographic characteristics of the non-citizen

        subgroup in the CCES and the non-citizen population in the U.S.



     31. A third problem with Professor Richman’s analysis of the CCES is that he

        takes no account of known measurement error in the survey question on

        citizenship status. Professor Richman uses question V263 from the 2008

        CCES to determine who indicates that they are non-citizens. The question

        asks respondents:

            Which of these statements best describes you?

            <1>       I am an immigrant to the USA and a naturalized citizen
            <2>       I am an immigrant to the USA but not a citizen
            <3>       I was born in the USA but at least one of my parents is an
                      immigrant
            <4>       My parents and I were born in the USA but at least one of my
                      grandparents was an immigrant
            <5>       My parents, grandparents, and I were all born in the USA
            <8>       Skipped


     32. There is evidence in the academic literature of measurement error in this

        question. 4 In 2010 and 2012, the CCES interviewed 19,000 respondents in

        both years and asked them the same set of questions. Of the 18,846 people

        who answered this question in both years, 91 percent of respondents

        answered the immigrant status question consistently, but nine percent (1 in

        11) gave inconsistent answers from year to year.




4See Stephen Ansolabehere, Samantha Luks, and Brian F. Schaffner, “The Perils of
Cherry Picking Low Frequency Events in Large Sample Surveys” Electoral Studies 40
(2015): 409-410.


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 33. Table 5 presents the responses to the 2010 – 2012 CCES survey. The table

    collapses the four categories indicating that someone is a citizen into a single

    category.

    a. There were 121 respondents who chose category #2 in the 2010 survey,

        that is, who identified themselves as “not a citizen” that year. Of the 121

        respondents who stated that they were non-citizens in 2010, 85

        respondents also stated that they are “not a citizen” in 2012. The

        remaining 36 respondents stated that they were “not a citizen” in 2010

        but stated that they were a citizen in 2012. That difference might reflect

        naturalization, or it might reflect survey errors, such as occur when a

        respondent accidentally clicks the wrong category in one of the years.

    b. There were 18,725 respondents who indicated that they were citizens in

        2010 (that is, they chose one of the citizenship categories that year). Of

        these, 18,705 respondents indicated again that they were citizens in

        2012.

    c. There were 20 respondents who stated that they were citizens in 2010

        but non-citizens in 2012. That is impossible

    d. Overall, of the 105 people who said they were non-citizens in 2012, 20

        (or 19 percent) indicated that they were citizens in 2010, and are likely

        erroneous responses.



 34. The rate of classification error is consequential because it can completely

    account for Professor Richman’s findings. The 2010-2012 survey provides



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        an estimate of the rate of classification error among non-citizens: 19 percent

        of non-citizens are in fact citizens (i.e., 20 of the 105 reported non-citizens in

        2012). A simple calculation illustrates that we expect to find some actual

        citizen voters among the groups classified as non-citizens. If half of all

        citizens vote, and if 19 percent of respondents who are classified as non-

        citizens are in fact citizens, then we expect that nine to ten percent of

        reported non-citizens are, in fact, citizen voters. Professor Richman reports

        valid voting estimate of 3.3% and a reported voting rate of 11 percent among

        those who say they are non-citizens in the 2008 CCES.



     35. In a refereed article, I have demonstrated both the measurement error

        problem and its potential consequences. 5 Even if the illustrative calculation

        in paragraph 34 is too simple to adequately capture the problem, the

        presence of measurement error on the order of 20 percent of the reported

        non-citizens will create significant biases in the estimates and likely renders

        inferences about the registration and voting of actual non-citizens

        impossible. Professor Richman offers no correction for measurement errors

        in his estimates. 6




5 See Stephen Ansolabehere, Samantha Luks, and Brian F. Schaffner, “The Perils of
Cherry Picking Low Frequency Events in Large Sample Surveys” Electoral Studies 40
(2015), at 410.
6 Professor Richman and his colleagues have written an unpublished rejoinder to

my analysis. Their paper does not in fact address the obvious measurement error
problem or offer a statistical correction for potential biases.


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 A.2. Kansas Estimates



           i. Statistics



 36. Professor Richman provides five estimates of the rate of non-citizen voter

    registration for the State of Kansas. These are presented and summarized in

    Table 2. The estimates of the rate of non-citizen registration in Professor

    Richman’s report range widely – from 0 percent of non-citizens are

    registered to vote (page 11 of Richman’s report) to 28.6 percent of non-

    citizens are registered to vote (page 5). The studies with the larger sample

    sizes – and, thus, greater statistical precision and higher statistical power –

    have much smaller estimates of the rate of non-citizen registration. The

    simple average of the five estimates is 10.3 percentage points. However, the

    average value weighted by the sample sizes of each study is a weighted

    average of 1.3 percentage points, as shown at the bottom of Table 2.



 37. Professor Richman offers no measures of statistical precision or margins of

    error for any of the estimates, with one exception. The exception is on page

    12 of his report, where he reports that 1 person out of 19 stated in the survey

    that he or she was registered to vote or attempted to register to vote, for an

    estimate that 5.3 percent of non-citizens are registered to vote in the State of

    Kansas. The margin of error on that estimate is so wide that one can have no




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        confidence that the number of non-citizens in Kansas who are registered to

        vote is larger than the single case found.



     38. Professor Richman offers no margin of error or statistical analysis of the four

        other estimates of the non-citizen registration rate for the state of Kansas.

        Table 2 provides the theoretical margin of error for each of the other

        estimates. These calculations assume that the data were generated as if

        from a random sample from the population of all non-citizens in the State of

        Kansas. As discussed below, the estimates based on the Suspense List,

        Temporary Driver License List (TDL), and the list of incidentally contacted

        persons are problematic in this respect. For the sake of the analysis here, I

        will assume simple random sampling and use the conventional margin of

        error, commonly reported in media reports on polls. 7 Using this margin of

        error, none of the estimates are statistically distinguishable from each other,

        and three of the estimates are not statistically distinguishable from 0.



     39. Taking all five estimates together reveals that the data presented offer no

        statistically significant evidence of non-citizen registration in the State of

        Kansas. Combining all five estimates, the simple average of the estimates of

        non-citizen registration in Professor Richman’s Report is 10.3 percent. The



7That formula is 1.96 times the square root of .25 divided by the sample size. There
are other formulas for the sampling variance of an estimate, depending on
distribution assumptions, but this is the standard formula used in presenting polling
data.


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        standard deviation of the five estimates is 12.2 percent, 8 which yields a

        margin of error for the estimated registration rate of 24.4 percent. 9 That is

        a very wide margin of error, so wide that one cannot distinguish that number

        from a true rate of zero: the data do not have enough precision to allow us to

        reject the hypothesis that the true rate of non-citizen registration is

        effectively zero.



     40. Because some of the studies that Professor Richman conducted have much

        larger sample sizes, and thus more precision, it makes sense to give those

        studies more weight in combining the estimates. A weighted average of the

        estimates in Table 2, in which each estimate is weighted according to the

        number of observations made to make the estimate, is that 1.3 percent of

        non-citizens in the State of Kansas are registered to vote. That estimate also

        has some uncertainty associated with it, and that uncertainty is measured as

        the variability (standard deviation) across the studies. The observed

        sample-size weighted standard deviation of the estimates is 3.8 percentage

        points, and the corresponding margin of error is 5.2 percentage points. The

        uncertainty in the estimates is sufficiently large that one cannot conclude

        from the totality of the evidence that the rate of non-citizen registration is

        different from 0.

8 The standard deviation measures the variation across estimates and captures the
degree of uncertainty about the true rate of registration given the variation across
the different studies presented.
9 This standard error and margin of error estimate does not depend on the

assumption of pure random sampling. It is the variation across the estimates
Professor Richman offers.


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        ii.     Problems



 41. Each of Professor Richman’s specific estimates suffers from methodological

    problems.



              ii. a. Kansas Estimate Based on the CCES



 42. The first estimate Professor Richman offers for the State of Kansas (Richman,

    page 5 and shown in the first row in Table 2) relies on 14 respondents from

    the CCES from 2006, 2008, 2010 and 2012, combined. Professor Richman

    states that 4 of these 14 respondents report being registered. He then offers

    an estimate that 28.6 percent non-citizens in Kansas are registered to vote.



 43. First, this estimate is contaminated by measurement error in the

    identification of non-citizens in the CCES, as discussed previously (see

    paragraphs 30 to 34).



 44. Second, this estimate uses reported registration only and suffers from the

    well-known problem that people over report being registered to vote, as

    discussed previously (see paragraph 24).



 45. Third, when using the national CCES data, Professor Richman provided an

    estimate of non-citizen registration that relies on linking respondents to



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    voter registration records. No analogous estimate is offered for the 14 cases

    he studied from the CCES samples for the State of Kansas. Inspection of the

    2006, 2008, 2010, and 2012 datafiles reveals that of the 14 Kansas

    respondents who self-identified as non-citizens, only 1 (a single respondent

    in 2008) had a matched record on the voter registration lists of the state of

    Kansas.



 46. Professor Richman did not include the 2014 CCES in his analysis. In the 2014

    CCES, four respondents reported that they live in the State of Kansas and

    reported that they are non-citizens. None of these four had a matching

    registration record.



           ii. b. Kansas Estimate Based on Naturalization Information



 47. The second estimate of non-citizen registration in the State of Kansas in

    Professor Richman’s report uses pre-existing registrations of non-citizens

    who became naturalized citizens in Sedgwick County, Kansas. This estimate

    extrapolates from the population of foreign born who become naturalized

    citizens to the population of foreign born non-citizens.



 48. No effort is made in Professor Richman’s report to establish that those who

    become naturalized are representative of the non-citizen population as a

    whole. According to the 2015 American Community Survey, most (63



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         percent) of the foreign born population in the State of Kansas are not

         naturalized citizens. That survey shows that the naturalized population is

         older (median age 47.4) than the non-citizen population (median age 34.7).

         The naturalized population is better educated (77.4 percent have a high

         school degree or higher) than the non-citizen population (56.2 percent have

         a high school degree or higher). The naturalized population has higher

         income (median household income of $74,606) than the non-citizen

         population (median household income of $55,781). These factors are all

         predictors of the likelihood of registration. 10 No effort is made in Professor

         Richman’s analysis to adjust for the difference between those who become

         naturalized and those who remain non-citizens.



                ii. c. Kansas Estimate Based on TDL Survey



      49. The third estimate Professor Richman offers for the State of Kansas is a

         survey of names on the Temporary Drivers License list (TDL), matched to

         Immigration, Customs & Enforcement (ICE) records.        There are several

         problems with this estimate.



      50. First, in designing the survey he conducted for the State of Kansas, Professor

         Richman uses a different, and unusual, wording of the question used to

         ascertain voter registration status than he relied on for his analysis of the

10See Stephen Ansolabehere and Eitan Hersh, “Validation: What Big Data Reveal
About Survey Misreporting,” Political Analysis 20 (2012): 437-459, section 5.


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    2008 CCES. The questionnaire used in the Kansas survey asks whether the

    respondent “is registered or has attempted to register in the State of Kansas.”

    The inclusion of “or attempted to vote” is unconventional in questions about

    voter registration status. No analysis was offered of the validity or

    reliability of the registration question used in the Kansas survey. No

    explanation is offered as to why the question used for the Kansas survey

    differs from the question used to ascertain reported registration in the 2008

    CCES. No analysis was offered as to whether the question used in the Kansas

    survey elicits responses consistent with the 2008 CCES. Differences in

    question wording only add to the uncertainty in the estimates.



 51. Second, no response rate is presented. The response rate is the percent of

    people from the original sample list who were, in the end, interviewed.

    Academic and professional survey research standards, such as used by the

    American Association of Public Opinion Research and Public Opinion

    Quarterly, require calculation of a response rate with the publication of

    survey data. It is unclear from the materials presented what the response

    rate of this survey is, but a crude estimate is possible from the Excel file

    entitled DialingReport20Jan17_KS.xls. That file lists 40,892 attempted

    contacts, of which 2,300, or 5 percent, were successful. Additionally, not all

    names of the voter list have phone numbers, so the sampling method of

    calling people could not possibly reach all of the people in target population.

    Hence, the nominal response rate appears to be lower than 5 percent.



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    Professor Richman’s report offers no discussion of non-response in his

    survey or proposed corrections for it.



 52. Third, the TDL list captures only a fraction of the non-citizen population. In

    statistical terms this is a coverage problem: the sampling methodology can

    only cover or reach a small fraction of the target population. Professor

    Richman extrapolates from a study of TDL license holders to all non-citizens

    in the State of Kansas on page 10. However, he states on the top of page 9

    that only one in five non-citizens are TDL license holders. He offers no

    statistical correction to adjust for the fact that the TDL only reflects 20

    percent of the target population of all non-citizens in Kansas. He offers no

    statistical description of the characteristics of the people on the TDL, and no

    statistical correction or reweighting of these data is done to reflect the

    overall non-citizen population in the State of Kansas. There is no statistical

    basis for treating the study of the TDL as representative of the non-citizen

    population of Kansas.



 53. Fourth, no information is presented about the maintenance or currency of

    the TDL list. It is possible that a person received a TDL several years ago, and

    subsequently became a citizen, but is still on the TDL list.



           ii. d. Kansas Estimate Based on Registered Voter Survey




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 54. Professor Richman’s fourth estimate of the non-citizen registration rate in

    the State of Kansas comes from a survey of names on the voter registration

    lists in four counties with high non-citizen populations – Finney, Ford, Grant,

    and Seward counties. Zero (0) respondents indicated that they were non-

    citizens. There is no information provided about how this survey was

    conducted.



           ii. e. Kansas Estimate Based on “Incidentally Contacted Persons”



 55. A fifth, and final, estimate offered by Professor Richman of the registration

    rate of non-citizens in the State of Kansas pieces together people contacted

    incidentally in conducting the survey of Registered voters, the survey of TDL

    holders, and a survey of people on the Suspense List. (See Richman pages

    11-12.) Across the different studies, he determines that there were 19

    “incidentally contacted” non-citizens, one of whom stated that he or she was

    registered to vote or had attempted to register. Professor Richman reports a

    margin of error of 10.1 percent. That calculation is based on the assumption

    that there is a common sampling frame for a single study.



 56. This analysis does not have a coherent methodology for the study of the non-

    citizen population of the state of Kansas. The populations reflected by the

    Registered Voter List, the Suspense List, and the TDL List do not constitute a

    list of the population of non-citizens in the State of Kansas. Large portions of



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    the non-citizen population are not on these lists, and some of these lists

    (especially Registered Voters) include citizens. The Suspense and TDL lists

    may include the same people.



 57. There is no analysis showing how to extrapolate from those subgroups

    covered in the Registered Voter, Suspense, and TDL lists to the population of

    all non-citizen adults in the State of Kansas. There is no discussion in

    Professor Richman’s report of the assumptions when he calculates the

    margin of error for his estimate on page 12. It is my understanding that the

    assumption made at this point in his report is that the 19 observations pieced

    together across the three studies are randomly sampled from the population

    of non-citizens. Without a common sampling frame, however, the sampling

    is far more complicated, and not a simple random sample. The margin of

    error is likely wider than what would be arrived at from a single, simple

    random sample.



 58. The 19 observations studied on Page 12 of Professor Richman’s report are

    simply an arbitrary collection of cases, not a random sample. There is no

    sampling basis for drawing statistical inferences from incidental contacts.

    There is no description of a sampling frame or target population. There is no

    statistical analysis showing how to extrapolate from these lists to the overall

    non-citizen population. Hence, there is no statistical basis for extrapolating

    from the incidental contacts from the combination of these studies.



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      iii. Summary



   59. In sum, the estimates provided in Professor Richman’s report do not have

      sufficient statistical precision or power to provide evidence that the rate of

      non-citizen voter registration is statistically distinguishable from zero.   This

      is not to say that there are no non-citizens registered to vote in the State of

      Kansas. Rather, the evidence mounted in Professor Richman’s report is too

      ambiguous to provide a precise estimate of the rate of non-citizen

      registration, and the evidence presented, taken in its entirety, is not

      statistically significantly different from zero. Overall, these estimates are not

      informative about the rate of non-citizen registration in the United States

      overall or in the State of Kansas.



B. Estimates of Voting



   60. Professor Richman’s Report provides two estimates of the rate of non-citizen

      voting. Both are based on the 2008 CCES, and cover the entire US. These are

      presented in Table 3.



   61. These estimates differ because they employ different indicators of who

      counts as a voter. One estimate (1.5%) uses only people who report being

      non-citizens and who are validated as voters, meaning that there is a



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    matching record for them in a state’s official records of persons who voted.

    The second estimate (of 11.3%) is ten times larger than the first estimate,

    and uses people who report being non-citizens and people who either are

    validated as voters or report that they voted. The difference between the

    first and second estimates is entirely due to the fact that the second estimate

    includes people who reported that they voted but for whom no record of a

    vote could be found. Professor Richman offers no data or analysis indicating

    which of these is the best indicator of actual voting.



 62. As with indicators of registration, political science researchers have long

    documented that survey respondents over-report voting, and it is well

    established that reported turnout is not an accurate indicator of actual

    voting, as many people say they voted when in fact they did not. See footnote

    3 above. Based on this research, there is reason to doubt the validity of

    indicators of actual voting that are based on reported voting.



 63. Professor Richman’s report presents no measures of statistical precision or

    margins of error are presented with any of the estimates of non-citizen

    voting. The theoretical margin of error is plus or minus 4.5 percentage

    points, using the conventional calculation of the margin of error, as discussed

    above. The first estimate, then, offers no statistical evidence of non-citizen

    voting in the US, but the second estimate does. The first and second estimates




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      that Professor Richman offers differ from each other by a greater amount

      than would be expected simply from sampling variation.



   64. Professor Richman does not indicate which of these is the “best” estimate.

      The second estimate is biased because of over-reporting of voting, and both

      estimates are affected by the measurement error in non-citizenship

      described in paragraphs 30 through 34.



   65. These estimates are not informative about the extent of non-citizen voting in

      the State of Kansas.



C. Estimates of Citizenship Documentation



   66. Professor Richman (page 9) estimates, using a survey of the Suspense List,

      that 2.2 percent of citizens in Kansas lack the documents required to prove

      citizenship, such as birth certificates or passports. See Table 4.



   67. No measures of statistical uncertainty are offered with this estimate. Table 4

      provides the theoretical margin of error for this statistic, which is calculated

      to be plus or minus 2.7 percent.



   68. As with the registration and voting data, this estimate is not statistically

      distinguishable from zero.



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   69. Setting aside the question of statistical significance, the estimated percent of

      citizens in the State of Kansas who lack citizenship documents translates into

      45,587 persons. According to the 2015 American Community Survey, there

      are 2,072,133 adult citizens in Kansas; 2.2 percent of 2,072,133 equals

      45,587 persons.



   70. By comparison, Professor Richman’s estimates of the percent of non-citizens

      in the State of Kansas who are registered to vote imply a much lower number

      of non-citizens affected. The conclusion to his report offers a range of

      possible numbers from 1,153 to 18,000. That is, the number of citizens that

      lack citizenship documents, according to Professor Richman’s estimates, is

      somewhere between 2.5 to 40 times larger than the estimated number of

      non-citizens who are registered or have attempted to register.



D. Analysis of the Suspense List



   71. Professor Richman offers a study of the Suspense List. On the bottom of

      page 7, Professor Richman describes the suspense list as “individuals who

      have applied to register to vote in Kansas but do not have verified citizenship

      status.” As noted, the Suspense List is not representative of the non-citizen

      population of the State of Kansas, as it includes citizens who lack documents

      as well non-citizens. This makes it difficult to use these data to draw



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    inferences about the behavior of all non-citizens in the State of Kansas. It

    may also be the case that the non-citizens on the Suspense list are

    unrepresentative of non-citizens in the State of Kansas generally, but there is

    no information about the non-citizens on the Suspense List.



 72. A sample of 1380 people was drawn from this list. Of these seven people (or

    .5 percent) were identified as non-citizens. On page 8, paragraph 4,

    Professor Richman reports that, after weighting the data, “.7 percent of the

    overall suspense list consists of non-citizens.” He then uses the figure of .9 in

    performing the calculation that 161 people on the Suspense List are non-

    citizens. There is no explanation of where the .9 figure comes from, and why

    .7 is not used.



 73. No statistical analysis is offered of how non-citizens on the Suspense List

    reflect the overall non-citizen population. There is no statistical basis

    presented as to how one could possibly extrapolate from this group to the

    entire population of non-citizens in the State of Kansas. Survey weights

    were provided to me, but no information available to assess the accuracy of

    those weights or how they relate to the non-citizen population of the State of

    Kansas.




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 74. The theoretical margin of error for a sample size of 1380 is plus or minus 2.7

    percentage points. Given this margin of error, the quantity 0.7 is not

    statistically significantly different (or statistically distinguishable) from zero.



 75. The estimate provided on Page 8 is not an estimate of the percent of non-

    citizens who are registered, but of the percent of the Suspense List – people

    whose citizenship status is not yet resolved – who are in fact non-citizens.

    That means that almost all of the Suspense List consists of citizens.

    Specifically, if, as Professor Richman estimates, 0.7 percent of the Suspense

    List are non-citizens, then 99.3 percent of the Suspense List are citizens.




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                                          TABLE 1
                          Estimates of the Percent of Non-Citizens
                      who are Registered to Vote in the United States
                     According to the Report of Professor Jesse Richman


                                           Estimate

                                    Estimated Percent       Sample Size        Theoretical
SOURCE                                                                        Margin of Error*
2008 CCES – US
Linked Registration Record AND
Reported Not Citizen                         3.3%               488**              +/- 4.5%
(Richman, Page 3)
2008 CCES – US
Linked Voting Record
OR Reported Registration                    19.8%               488**              +/- 4.5%
AND Reported Not Citizen
(Richman, Page 3)
* The theoretical Margin of Error assumes that the only source of variation in estimates is due
to random sampling. Under that assumption the margin of error is the 95 percent confidence
interval for the estimate, which is calculated as 1.96 times the square root of .25/Sample Size.
All estimates in this column, except for “Kansas – Incidentally Contacted Respondents” are
provided by Professor Ansolabehere.

** From 2008 CCES Common Content Datafile.
https://dataverse.harvard.edu/dataset.xhtml?persistentId=hdl:1902.1/14003

***The text provides a number of non-citizens registered of 269. No baseline number of non-
citizens is reported in the text. According to the Census Bureau in 1990 there were 35,819
foreign born non-citizens in the State of Kansas. I calculate the estimated percent to be
(269/35819)*100 = 0.7 percent.

****Reported by Professor Richman.
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                                         TABLE 2
                         Estimates of the Percent of Non-Citizens
                     who are Registered to Vote in the State of Kansas
                    According to the Report of Professor Jesse Richman

                                                                          Theoretical
SOURCE                               Estimated Percent    Sample Size    Margin of Error*
Kansas – CCES 2006-2012
Reported Registration AND                 28.6%                 14          +/-27.7%
Reported Non- Citizen in Survey           (4/14)
(Richman, Page 5)
Kansas – Sedgwick County
Pre-existing registrations of              1.0%                 789         +/- 3.6%
newly naturalized citizens                (8/789)
 (Richman, Page 5)
Kansas TDL - Survey
People who reported being                 16.5%                 37          +/- 16.4%
registered or attempting to               (6/37)
register; matched to ICE
(page 10)
Kansas Counties
(Finney, Ford, Grant, Seward)               0%                  576         +/- 4.2%
(page 11)                                 (0/576)

Kansas – Incidentally Contacted
Respondents                                5.3%                 19         10.1%****
(page 12)                                 (1/19)



                                  Summary of Kansas Estimates

                                                          Sample-Size
                                      Simple Average       Weighted
                                                            Average

Average of Richman’s Estimates            10.3%                 1.3%

Observed Standard Deviation of
Richman’s Estimates                       12.2%                 3.8%
(Root Mean Squared Error)
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Observed Margin of Error of             +/- 24.4%             +/- 7.6%
Richman’s Estimates

* The theoretical Margin of Error assumes that the only source of variation in estimates is due
to random sampling. Under that assumption the margin of error is the 95 percent confidence
interval for the estimate, which is calculated as 1.96 times the square root of .25/Sample Size.
All estimates in this column, except for “Kansas – Incidentally Contacted Respondents” are
provided by Professor Ansolabehere.

** From 2008 CCES Common Content Datafile.
https://dataverse.harvard.edu/dataset.xhtml?persistentId=hdl:1902.1/14003

***The text provides a number of non-citizens registered of 269. No baseline number of non-
citizens is reported in the text. According to the Census Bureau in 1990 there were 35,819
foreign born non-citizens in the State of Kansas. I calculate the estimated percent to be
(269/35819)*100 = 0.7 percent.

****Reported by Professor Richman.
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                                          TABLE 3
                          Estimates of the Percent of Non-Citizens
                         who are Voted in 2008 in the United States
                     According to the Report of Professor Jesse Richman


                                          Estimates

                                      Estimated Percent      Sample Size       Theoretical
SOURCE                                                                        Margin of Error*
2008 CCES – US
Linked Voting Record AND
Reported Not Citizen                         1.5%               488**             +/- 4.5%
(Richman, Page 3)
2008 CCES – US
Linked Voting Record
OR Reported Vote AND                        11.3%               488**             +/- 4.5%
Reported Not Citizen
(Richman, Page 3)

                                           Summary

                                       Simple Average         Sample-Size
                                                               Weighted
                                                                Average
Average of Richman’s Estimates               6.4%                6.4%


Observed Standard Error of                   6.9%                6.9%
Estimates
(Mean Squared Error)
Observed Margin of Error of               +/- 13.8%            +/- 13.8%
Estimates

* The theoretical Margin of Error assumes that the only source of variation in estimates is due
to random sampling. Under that assumption the margin of error is the 95 percent confidence
interval for the estimate, which is calculated as 1.96 times the square root of .25/Sample Size.
** From 2008 CCES Common Content Datafile.
https://dataverse.harvard.edu/dataset.xhtml?persistentId=hdl:1902.1/14003
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                                          TABLE 4
             Estimate of the Percent of Citizens Who Lack Proof of Citizenship
                         in the Report of Professor Jesse Richman

                                                                      Theoretical
SOURCE                 Estimate               Sample Size             Margin of Error
Kansas Suspense List
Survey                 2.2%                   1391                    +/- 2.7%
(page 9)
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                                            TABLE 5
               Reliability of Indicators of Non-Citizen Immigrants in the CCES
                                 CCES 2010-2012 Panel Survey
                                                          2012
2010                    Citizen                  Not Citizen             Total
              Citizen 18,705                     20                      18,725
          Not Citizen 36                         85                      121
                Total 18,741                     105                     18,846
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                           EXHIBIT A
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                                      EDUCATION

Harvard University                 Ph.D., Political Science          1989
University of Minnesota            B.A., Political Science           1984
                                   B.S., Economics



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ACADEMIC POSITIONS

2016-present    Frank G. Thompson Professor of Government, Harvard University
2008-present    Professor, Department of Government, Harvard University
2015-present    Director, Center for American Politics, Harvard University
1998-2009       Elting Morison Professor, Department of Political Science, MIT
                     (Associate Head, 2001-2005)
1995-1998       Associate Professor, Department of Political Science, MIT
1993-1994       National Fellow, The Hoover Institution
1989-1993       Assistant Professor, Department of Political Science,
                University of California, Los Angeles



FELLOWSHIPS AND HONORS

American Academy of Arts and Sciences                     2007
Carnegie Scholar                                         2000-02
National Fellow, The Hoover Institution                  1993-94
Harry S. Truman Fellowship                               1982-86



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Books

2014        Cheap and Clean: How Americans Think About Energy in the Age of Global
                Warming. With David Konisky. MIT Press. Recipient of the Donald K. Price
                book award.

2013        American Government, 13th edition. With Ted Lowi, Benjamin Ginsberg
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2008         The End of Inequality: One Person, One Vote and the Transformation of American
                Politics. With James M. Snyder, Jr., W. W. Norton.

1996        Going Negative: How Political Advertising Divides and Shrinks the American
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                book award.

1993         Media Game: American Politics in the Television Age. With Roy Behr and
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            285-303

2013        “Race, Gender, Age, and Voting” Politics and Governance, vol. 1, issue 2.
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            Constitutionality of Section 5 of the Voting Rights Act” (with Nathaniel Persily
            and Charles Stewart) 126 Harvard Law Review F 205 (2013)
            http://www.harvardlawreview.org/issues/126/april13/forum_1005.php

2013        “Cooperative Survey Research” Annual Review of Political Science (with
            Douglas Rivers)

2013        “Social Sciences and the Alternative Energy Future” Daedalus (with Bob Fri)

2013        “The Effects of Redistricting on Incumbents,” Election Law Journal
            (with James Snyder)

2012        “Asking About Numbers: How and Why” Political Analysis (with Erik
            Snowberg and Marc Meredith). doi:10.1093/pan/mps031

2012         “Movers, Stayers, and Registration” Quarterly Journal of Political Science
            (with Eitan Hersh and Ken Shepsle)

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            Electorate” Political Analysis (with Eitan Hersh)

2012        “Arizona Free Enterprise v. Bennett and the Problem of Campaign Finance”
            Supreme Court Review 2011(1):39-79

2012        “The American Public’s Energy Choice” Daedalus (with David Konisky)

2012        “Challenges for Technology Change” Daedalus (with Robert Fri)

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2011        “When Parties Are Not Teams: Party positions in single-member district and
            proportional representation systems” Economic Theory 49 (March)
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2011        “Profiling Originalism” Columbia Law Review (with Jamal Greene and Nathaniel
            Persily).

2010        “Partisanship, Public Opinion, and Redistricting” Election Law Journal (with
            Joshua Fougere and Nathaniel Persily).

2010        “Primary Elections and Party Polarization” Quarterly Journal of Political Science
            (with Shigeo Hirano, James Snyder, and Mark Hansen)

2010         “Constituents’ Responses to Congressional Roll Call Voting,” American
            Journal of Political Science (with Phil Jones)

2010        “Race, Region, and Stephen Ansolabehere, Nathaniel Persily, and Charles H.
            Stewart III, “Race, Region, and Vote Choice in the 2008 Election: Implications for
            the Future of the Voting Rights Act” Harvard Law Review April, 2010.

2010        “Residential Mobility and the Cell Only Population,” Public Opinion Quarterly
            (with Brian Schaffner)

2009         “Explaining Attitudes Toward Power Plant Location,” Public Opinion Quarterly
            (with David Konisky)

2009        “Public risk perspectives on the geologic storage of carbon dioxide,”
            International Journal of Greenhouse Gas Control (with Gregory Singleton and
            Howard Herzog) 3(1): 100-107.

2008        “A Spatial Model of the Relationship Between Seats and Votes” (with William
            Leblanc) Mathematical and Computer Modeling (November).

2008        “The Strength of Issues: Using Multiple Measures to Gauge Preference Stability,
            Ideological Constraint, and Issue Voting” (with Jonathan Rodden and James M.
            Snyder, Jr.) American Political Science Review (May).

2008        “Access versus Integrity in Voter Identification Requirements.” New York
            University Annual Survey of American Law, vol 63.

2008        “Voter Fraud in the Eye of the Beholder” (with Nathaniel Persily) Harvard Law
             Review (May)

2007        “Incumbency Advantages in U. S. Primary Elections,” (with John Mark Hansen,
            Shigeo Hirano, and James M. Snyder, Jr.) Electoral Studies (September)

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2007         “Television and the Incumbency Advantage” (with Erik C. Snowberg and
            James M. Snyder, Jr). Legislative Studies Quarterly.

2006        “The Political Orientation of Newspaper Endorsements” (with Rebecca
            Lessem and James M. Snyder, Jr.). Quarterly Journal of Political Science vol. 1,
            issue 3.

2006        “Voting Cues and the Incumbency Advantage: A Critical Test” (with Shigeo
            Hirano, James M. Snyder, Jr., and Michiko Ueda) Quarterly Journal of
            Political Science vol. 1, issue 2.

2006        “American Exceptionalism? Similarities and Differences in National Attitudes
            Toward Energy Policies and Global Warming” (with David Reiner, Howard
            Herzog, K. Itaoka, M. Odenberger, and Fillip Johanssen) Environmental Science
            and Technology (February 22, 2006),
            http://pubs3.acs.org/acs/journals/doilookup?in_doi=10.1021/es052010b

2006        “Purple America” (with Jonathan Rodden and James M. Snyder, Jr.) Journal
            of Economic Perspectives (Winter).

2005        “Did the Introduction of Voter Registration Decrease Turnout?” (with David
             Konisky). Political Analysis.

2005        “Statistical Bias in Newspaper Reporting: The Case of Campaign Finance”
            Public Opinion Quarterly (with James M. Snyder, Jr., and Erik Snowberg).

2005        “Studying Elections” Policy Studies Journal (with Charles H. Stewart III and R.
            Michael Alvarez).

2005         “Legislative Bargaining under Weighted Voting” American Economic Review
            (with James M. Snyder, Jr., and Michael Ting)

2005        “Voting Weights and Formateur Advantages in Coalition Formation: Evidence
            from Parliamentary Coalitions, 1946 to 2002” (with James M. Snyder, Jr., Aaron
            B. Strauss, and Michael M. Ting) American Journal of Political Science.

2005         “Reapportionment and Party Realignment in the American States” Pennsylvania
             Law Review (with James M. Snyder, Jr.)

2004        “Residual Votes Attributable to Voting Technologies” (with Charles Stewart)
            Journal of Politics

2004        “Using Term Limits to Estimate Incumbency Advantages When Office Holders
            Retire Strategically” (with James M. Snyder, Jr.). Legislative Studies Quarterly
            vol. 29, November 2004, pages 487-516.

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2004        “Did Firms Profit From Soft Money?” (with James M. Snyder, Jr., and Michiko
            Ueda) Election Law Journal vol. 3, April 2004.

2003        “Bargaining in Bicameral Legislatures” (with James M. Snyder, Jr. and Mike
            Ting) American Political Science Review, August, 2003.

2003        “Why Is There So Little Money in U.S. Politics?” (with James M. Snyder, Jr.)
            Journal of Economic Perspectives, Winter, 2003.

2002        “Equal Votes, Equal Money: Court-Ordered Redistricting and the Public
            Spending in the American States” (with Alan Gerber and James M. Snyder, Jr.)
            American Political Science Review, December, 2002.
            Paper awarded the Heinz Eulau award for the best paper in the American Political
            Science Review.

2002        “Are PAC Contributions and Lobbying Linked?” (with James M. Snyder, Jr. and
            Micky Tripathi) Business and Politics 4, no. 2.

2002        “The Incumbency Advantage in U.S. Elections: An Analysis of State and Federal
            Offices, 1942-2000” (with James Snyder) Election Law Journal, 1, no. 3.

2001        “Voting Machines, Race, and Equal Protection.” Election Law Journal, vol. 1,
            no. 1

2001        “Models, assumptions, and model checking in ecological regressions” (with
            Andrew Gelman, David Park, Phillip Price, and Larraine Minnite) Journal of
            the Royal Statistical Society, series A, 164: 101-118.

2001        “The Effects of Party and Preferences on Congressional Roll Call Voting.”
            (with James Snyder and Charles Stewart) Legislative Studies Quarterly
            (forthcoming).
            Paper awarded the Jewell-Lowenberg Award for the best paper published on
            legislative politics in 2001. Paper awarded the Jack Walker Award for the best
            paper published on party politics in 2001.

2001        “Candidate Positions in Congressional Elections,” (with James Snyder and
            Charles Stewart). American Journal of Political Science 45 (November).

2000        “Old Voters, New Voters, and the Personal Vote,” (with James Snyder and
            Charles Stewart) American Journal of Political Science 44 (February).

2000        “Soft Money, Hard Money, Strong Parties,” (with James Snyder) Columbia Law
            Review 100 (April):598 - 619.

2000        “Campaign War Chests and Congressional Elections,” (with James Snyder)

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             Business and Politics. 2 (April): 9-34.

1999        “Replicating Experiments Using Surveys and Aggregate Data: The Case of
             Negative Advertising.” (with Shanto Iyengar and Adam Simon) American
            Political Science Review 93 (December).

1999        “Valence Politics and Equilibrium in Spatial Models,” (with James Snyder),
             Public Choice.

1999        “Money and Institutional Power,” (with James Snyder), Texas Law Review 77
            (June, 1999): 1673-1704.

1997        “Incumbency Advantage and the Persistence of Legislative Majorities,” (with
            Alan Gerber), Legislative Studies Quarterly 22 (May 1997).

1996        “The Effects of Ballot Access Rules on U.S. House Elections,” (with Alan
            Gerber), Legislative Studies Quarterly 21 (May 1996).

1994        “Riding the Wave and Issue Ownership: The Importance of Issues in Political
            Advertising and News,” (with Shanto Iyengar) Public Opinion Quarterly 58:
            335-357.

1994        “Horseshoes and Horseraces: Experimental Evidence of the Effects of Polls on
            Campaigns,” (with Shanto Iyengar) Political Communications 11/4 (October-
            December): 413-429.

1994        “Does Attack Advertising Demobilize the Electorate?” (with Shanto Iyengar),
            American Political Science Review 89 (December).

1994        “The Mismeasure of Campaign Spending: Evidence from the 1990 U.S. House
            Elections,” (with Alan Gerber) Journal of Politics 56 (September).

1993        “Poll Faulting,” (with Thomas R. Belin) Chance 6 (Winter): 22-28.

1991        “The Vanishing Marginals and Electoral Responsiveness,” (with David Brady and
            Morris Fiorina) British Journal of Political Science 22 (November): 21-38.

1991        “Mass Media and Elections: An Overview,” (with Roy Behr and Shanto Iyengar)
            American Politics Quarterly 19/1 (January): 109-139.

1990        “The Limits of Unraveling in Interest Groups,” Rationality and Society 2:
             394-400.

1990        “Measuring the Consequences of Delegate Selection Rules in Presidential
            Nominations,” (with Gary King) Journal of Politics 52: 609-621.


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1989        “The Nature of Utility Functions in Mass Publics,” (with Henry Brady) American
            Political Science Review 83: 143-164.


Special Reports and Policy Studies

2010        The Future of Nuclear Power, Revised.

2006        The Future of Coal. MIT Press. Continued reliance on coal as a primary power
            source will lead to very high concentrations of carbon dioxide in the atmosphere,
            resulting in global warming. This cross-disciplinary study – drawing on faculty
            from Physics, Economics, Chemistry, Nuclear Engineering, and Political Science
            – develop a road map for technology research and development policy in order to
            address the challenges of carbon emissions from expanding use of coal for
            electricity and heating throughout the world.

2003        The Future of Nuclear Power. MIT Press. This cross-disciplinary study –
            drawing on faculty from Physics, Economics, Chemistry, Nuclear Engineering,
            and Political Science – examines the what contribution nuclear power can make to
            meet growing electricity demand, especially in a world with increasing carbon
            dioxide emissions from fossil fuel power plants.

2002        “Election Day Registration.” A report prepared for DEMOS. This report analyzes
            the possible effects of Proposition 52 in California based on the experiences of 6
            states with election day registration.

2001        Voting: What Is, What Could Be. A report of the Caltech/MIT Voting
            Technology Project. This report examines the voting system, especially
            technologies for casting and counting votes, registration systems, and polling
            place operations, in the United States. It was widely used by state and national
            governments in formulating election reforms following the 2000 election.

2001        “An Assessment of the Reliability of Voting Technologies.” A report of the
            Caltech/MIT Voting Technology Project. This report provided the first
            nationwide assessment of voting equipment performance in the United States. It
            was prepared for the Governor’s Select Task Force on Election Reform in Florida.


Chapters in Edited Volumes


2016        “Taking the Study of Public Opinion Online” (with Brian Schaffner) Oxford
            Handbook of Public Opinion, R. Michael Alvarez, ed. Oxford University Press:
             New York, NY.

2014        “Voter Registration: The Process and Quality of Lists” The Measure of

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            American Elections, Barry Burden, ed..

2012        “Using Recounts to Measure the Accuracy of Vote Tabulations: Evidence from
            New Hampshire Elections, 1946-2002” in Confirming Elections, R. Michael
            Alvarez, Lonna Atkeson, and Thad Hall, eds. New York: Palgrave, Macmillan.

2010        “Dyadic Representation” in Oxford Handbook on Congress, Eric Schickler, ed.,
            Oxford University Press.

2008        “Voting Technology and Election Law” in America Votes!, Benjamin Griffith,
            editor, Washington, DC: American Bar Association.

2007        “What Did the Direct Primary Do to Party Loyalty in Congress” (with
            Shigeo Hirano and James M. Snyder Jr.) in Process, Party and Policy
             Making: Further New Perspectives on the History of Congress, David
            Brady and Matthew D. McCubbins (eds.), Stanford University Press, 2007.

2007        “Election Administration and Voting Rights” in Renewal of the Voting
            Rights Act, David Epstein and Sharyn O’Hallaran, eds. Russell Sage Foundation.

2006        “The Decline of Competition in Primary Elections,” (with John Mark Hansen,
            Shigeo Hirano, and James M. Snyder, Jr.) The Marketplace of Democracy,
            Michael P. McDonald and John Samples, eds. Washington, DC: Brookings.

2005        “Voters, Candidates and Parties” in Handbook of Political Economy, Barry
            Weingast and Donald Wittman, eds. New York: Oxford University Press.

2003        “Baker v. Carr in Context, 1946 – 1964” (with Samuel Isaacharoff) in
            Constitutional Cases in Context, Michael Dorf, editor. New York: Foundation
            Press.

2002        “Corruption and the Growth of Campaign Spending”(with Alan Gerber and James
            Snyder). A User’s Guide to Campaign Finance, Jerry Lubenow, editor. Rowman
            and Littlefield.

2001        “The Paradox of Minimal Effects,” in Henry Brady and Richard Johnston, eds.,
            Do Campaigns Matter? University of Michigan Press.

2001        “Campaigns as Experiments,” in Henry Brady and Richard Johnson, eds., Do
            Campaigns Matter? University of Michigan Press.

2000        “Money and Office,” (with James Snyder) in David Brady and John Cogan, eds.,
            Congressional Elections: Continuity and Change. Stanford University Press.

1996        “The Science of Political Advertising,” (with Shanto Iyengar) in Political
            Persuasion and Attitude Change, Richard Brody, Diana Mutz, and Paul

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            Sniderman, eds. Ann Arbor, MI: University of Michigan Press.

1995        “Evolving Perspectives on the Effects of Campaign Communication,” in Philo
            Warburn, ed., Research in Political Sociology, vol. 7, JAI.

1995        “The Effectiveness of Campaign Advertising: It’s All in the Context,” (with
            Shanto Iyengar) in Campaigns and Elections American Style, Candice Nelson and
            James A. Thurber, eds. Westview Press.

1993        “Information and Electoral Attitudes: A Case of Judgment Under Uncertainty,”
            (with Shanto Iyengar), in Explorations in Political Psychology, Shanto Iyengar
            and William McGuire, eds. Durham: Duke University Press.

Working Papers

2009        “Sociotropic Voting and the Media” (with Marc Meredith and Erik Snowberg),
            American National Election Study Pilot Study Reports, John Aldrich editor.

2007        “Public Attitudes Toward America’s Energy Options: Report of the 2007 MIT
            Energy Survey” CEEPR Working Paper 07-002 and CANES working paper.

2006       "Constituents' Policy Perceptions and Approval of Members' of Congress" CCES
           Working Paper 06-01 (with Phil Jones).

2004        “Using Recounts to Measure the Accuracy of Vote Tabulations: Evidence from
            New Hampshire Elections, 1946 to 2002” (with Andrew Reeves).

2002        “Evidence of Virtual Representation: Reapportionment in California,” (with
            Ruimin He and James M. Snyder).

1999        “Why did a majority of Californians vote to lower their own power?” (with James
            Snyder and Jonathan Woon). Paper presented at the annual meeting of the
            American Political Science Association, Atlanta, GA, September, 1999.
            Paper received the award for the best paper on Representation at the 1999 Annual
            Meeting of the APSA.

1999        “Has Television Increased the Cost of Campaigns?” (with Alan Gerber and James
            Snyder).

1996        “Money, Elections, and Candidate Quality,” (with James Snyder).

1996        “Party Platform Choice - Single- Member District and Party-List Systems,”(with
            James Snyder).

1995        “Messages Forgotten” (with Shanto Iyengar).


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1994        “Consumer Contributors and the Returns to Fundraising: A Microeconomic
            Analysis,” (with Alan Gerber), presented at the Annual Meeting of the American
            Political Science Association, September.

1992        “Biases in Ecological Regression,” (with R. Douglas Rivers) August, (revised
            February 1994). Presented at the Midwest Political Science Association
            Meetings, April 1994, Chicago, IL.

1992        “Using Aggregate Data to Correct Nonresponse and Misreporting in Surveys”
            (with R. Douglas Rivers). Presented at the annual meeting of the Political
            Methodology Group, Cambridge, Massachusetts, July.

1991        “The Electoral Effects of Issues and Attacks in Campaign Advertising” (with
            Shanto Iyengar). Presented at the Annual Meeting of the American Political
            Science Association, Washington, DC.

1991        “Television Advertising as Campaign Strategy: Some Experimental Evidence”
            (with Shanto Iyengar). Presented at the Annual Meeting of the American
            Association for Public Opinion Research, Phoenix.

1991        “Why Candidates Attack: Effects of Televised Advertising in the 1990 California
            Gubernatorial Campaign,” (with Shanto Iyengar). Presented at the Annual
            Meeting of the Western Political Science Association, Seattle, March.

1990        “Winning is Easy, But It Sure Ain’t Cheap.” Working Paper #90-4, Center for the
            American Politics and Public Policy, UCLA. Presented at the Political Science
            Departments at Rochester University and the University of Chicago.


Research Grants

1989-1990     Markle Foundation. “A Study of the Effects of Advertising in the 1990
              California Gubernatorial Campaign.” Amount: $50,000

1991-1993     Markle Foundation. “An Experimental Study of the Effects of Campaign
              Advertising.” Amount: $150,000

1991-1993     NSF. “An Experimental Study of the Effects of Advertising in the 1992
              California Senate Electoral.” Amount: $100,000

1994-1995     MIT Provost Fund. “Money in Elections: A Study of the Effects of Money on
              Electoral Competition.” Amount: $40,000

1996-1997     National Science Foundation. “Campaign Finance and Political Representation.”
              Amount: $50,000

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1997          National Science Foundation. “Party Platforms: A Theoretical Investigation of
              Party Competition Through Platform Choice.” Amount: $40,000

1997-1998     National Science Foundation. “The Legislative Connection in Congressional
              Campaign Finance. Amount: $150,000

1999-2000     MIT Provost Fund. “Districting and Representation.” Amount: $20,000.

1999-2002    Sloan Foundation. “Congressional Staff Seminar.” Amount: $156,000.

2000-2001     Carnegie Corporation. “The Caltech/MIT Voting Technology Project.”
              Amount: $253,000.

2001-2002     Carnegie Corporation. “Dissemination of Voting Technology Information.”
              Amount: $200,000.

2003-2005     National Science Foundation. “State Elections Data Project.” Amount:
              $256,000.

2003-2004     Carnegie Corporation. “Internet Voting.” Amount: $279,000.

2003-2005     Knight Foundation. “Accessibility and Security of Voting Systems.” Amount:
              $450,000.

2006-2008     National Science Foundation, “Primary Election Data Project,” $186,000

2008-2009     Pew/JEHT. “Measuring Voting Problems in Primary Elections, A National
              Survey.” Amount: $300,000

2008-2009     Pew/JEHT. “Comprehensive Assessment of the Quality of Voter Registration
              Lists in the United States: A pilot study proposal” (with Alan Gerber).
              Amount: $100,000.

2010-2011     National Science Foundation, “Cooperative Congressional Election Study,”
              $360,000

2010-2012     Sloan Foundation, “Precinct-Level U. S. Election Data,” $240,000.

2012-2014     National Science Foundation, “Cooperative Congressional Election Study,
              2010-2012 Panel Study” $425,000

2012-2014     National Science Foundation, “2012 Cooperative Congressional Election
              Study,” $475,000

2014-2016     National Science Foundation, “Cooperative Congressional Election Study,

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               2010-2014 Panel Study” $510,000

2014-2016      National Science Foundation, “2014 Cooperative Congressional Election
               Study,” $400,000

2016-2018      National Science Foundation, “2016 Cooperative Congressional Election
               Study,” $485,000



Professional Boards

Editor, Cambridge University Press Book Series, Political Economy of Institutions and
Decisions, 2006-present

Member, Board of the Reuters International School of Journalism, Oxford University, 2007 to
present.

Member, Academic Advisory Board, Electoral Integrity Project, 2012 to present.

Contributing Editor, Boston Review, The State of the Nation.

Member, Board of Overseers, American National Election Studies, 1999 - 2013.

Associate Editor, Public Opinion Quarterly, 2012 to 2013.

Editorial Board of American Journal of Political Science, 2005 to present.
Editorial Board of Legislative Studies Quarterly, 2005 to present.
Editorial Board of Public Opinion Quarterly, 2006 to present.
Editorial Board of the Election Law Journal, 2002 to present.
Editorial Board of the Harvard International Journal of Press/Politics, 1996 to 2008.
Editorial Board of Business and Politics, 2002 to Present.
Scientific Advisory Board, Polimetrix, 2004 to 2006.

Special Projects and Task Forces

Principal Investigator, Cooperative Congressional Election Study, 2005 – present.

CBS News Election Decision Desk, 2006-present

Co-Director, Caltech/MIT Voting Technology Project, 2000-2004.

Co-Organizer, MIT Seminar for Senior Congressional and Executive Staff, 1996-2007.

MIT Energy Innovation Study, 2009-2010.
MIT Energy Initiative, Steering Council, 2007-2008

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MIT Coal Study, 2004-2006.
MIT Energy Research Council, 2005-2006.
MIT Nuclear Study, 2002-2004.
Harvard University Center on the Environment, Council, 2009-present


Expert Witness, Consultation, and Testimony

2001          Testimony on Election Administration, U. S. Senate Committee on Commerce.
2001          Testimony on Voting Equipment, U.S. House Committee on Science, Space,
              and Technology
2001          Testimony on Voting Equipment, U.S. House Committee on House
              Administration
2001          Testimony on Voting Equipment, Congressional Black Caucus
2002-2003     McConnell v. FEC, 540 U.S. 93 (2003), consultant to the Brennan Center.
2009          Amicus curiae brief with Professors Nathaniel Persily and Charles Stewart on
              behalf of neither party to the U.S. Supreme Court in the case of Northwest
              Austin Municipal Utility District Number One v. Holder, 557 U.S. 193 (2009).
2009          Testimony on Voter Registration, U. S. Senate Committee on Rules.
2011-2014     Perez v. Perry, U. S. District Court in the Western District of Texas (No. 5:11-
              cv-00360). Exert witness on behalf of Rodriguez intervenors.
2011-2013      State of Texas v. United States, the U.S. District Court in the District of
              Columbia (No. 1:11-cv-01303), expert witness on behalf of the Gonzales
              intervenors.
2012-2013     State of Texas v. Holder, U.S. District Court in the District of Columbia (No.
              1:12-cv-00128), expert witness on behalf of the United States.
2011-2012     Guy v. Miller in U.S. District Court for Nevada (No. 11-OC-00042-1B), expert
              witness on behalf of the Guy plaintiffs.
2012          In re Senate Joint Resolution of Legislative Apportionment, Florida Supreme
              Court (Nos. 2012-CA-412, 2012-CA-490), consultant for the Florida
              Democratic Party.
2012-2014     Romo v. Detzner, Circuit Court of the Second Judicial Circuit in Florida (No.
              2012 CA 412), expert witness on behalf of Romo plaintiffs.
2013-2014     LULAC v. Edwards Aquifer Authority, U.S. District Court for the Western
              District of Texas, San Antonio Division (No. 5:12cv620-OLG,), consultant and
              expert witness on behalf of the City of San Antonio and San Antonio Water
              District
2013-2014     Veasey v. Perry, U. S. District Court for the Southern District of Texas, Corpus
              Christi Division (No. 2:13-cv-00193), consultant and expert witness on behalf of
              the United States Department of Justice.
2013-2015     Harris v. McCrory, U. S. District Court for the Middle District of North
              Carolina (No. 1:2013cv00949), consultant and expert witness on behalf of the
              Harris plaintiffs.
2014          Amicus curiae brief, on behalf of neither party, Supreme Court of the United
              States, Alabama Democratic Conference v. State of Alabama.
2014- 2016    Bethune-Hill v. Virginia State Board of Elections, U. S. District Court for the

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              Eastern District of Virginia (No. 3:2014cv00852), consultant and expert on
              behalf of the Bethune-Hill plaintiffs.
2015          Amicus curiae brief in support of Appellees, Supreme Court of the United
              States, Evenwell v. Abbott




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